                            ORIGINAL
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       3Jn tbe Wniteb ~tates qcourt of jfeberal qc{aims
                                    No. 15-1075C
                              (Filed January 21, 2016)
                             NOT FOR PUBLICATION

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RON HADDAD, Jr.,        *                                    FILED
                        *                                   JAN 21 2016
             Plaintiff, *                                 U.S. COURT OF
         v.             *                                FEDERAL CLAIMS
                        *
THE UNITED STATES,      *
                        *
             Defendant. *
                        *
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                                      ORDER

       On January 11, 2016, the Clerk's office received a document from Mr.
Haddad, which was not filed when received because it was not of a type
recognizable for filing under our rules. Instead of being in the form of a motion, the
document is called an "Order," although it seems to be a request that a default
judgment be entered in this case. Taking plaintiffs prose status into consideration,
the Court will construe the document as a motion for a default judgment under Rule
55 of the Rules of United States Court of Federal Claims (RCFC). The Clerk is
directed to file the document as such.

       The document is nearly identical to a document plaintiff submitted on the
same day bearing case number 15-1418C. It appears, based on a "Proof of Service"
appended to the back, that another copy was submitted to the Seventh Circuit.t
The document discusses, and contains attachments pertaining to, plaintiffs two
cases remaining in our court, and two cases (numbered 15-1398 and 15-3803) before
the Seventh Circuit. On January 19, 2016, the Clerk's office received a corrected
version of the document, minus the attachments, which was not filed when received

t The "Proof of Service" certificates plaintiff submitted do not unambiguously claim
that he served the documents on opposing parties, but instead seem to demand that
the clerks of the two courts do so for him, due to his limited resources. Although the
Court notes that plaintiffs resources have been sufficient to allow him to submit
numerous documents in his three proceedings in this court, the Clerk is directed to
send a copy of these documents to government counsel.
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for the same reason described above. The Clerk is directed to file it as an
amendment to the motion for a default judgment, and the Court will consider the
corrected version plus the initial attachments.

       Focusing on the matters which relate to the above-captioned case, plaintiff
contends that a default judgment is appropriate because four documents, which
were among those collectively treated as his response to the government's motion to
dismiss this case, see ECF No. 10, were not responded to by the government within
a ten-day deadline that he allegedly imposed. But the government has responded to
the complaint in a timely manner, with its motion to dismiss the case, and thus
there is no default under RCFC 55(a). And the government's failure to respond to
these documents within the period requested by plaintiff does not convert Mr.
Haddad's legal and factual averments into evidence supporting a default judgment
under RCFC 55(b), for at least two reasons.

        First, even if the documents were in a proper form constituting a discovery
request under rules --- interrogatories under RCFC 33, or requests for admission
under RCFC 36 --- absent a stipulation or court order, the defendant would have
thirty-three days from service to respond. See RCFC 6(d), 33(b)(2), 36(a)(3).
Because the unusual form of these documents required leave of court for filing, the
time period for responding began on the filing date of December 23, 2015, see RCFC
7.2(d), and thus the time to respond has not yet elapsed. In any event, given the
pendency of the motion to dismiss the case, the documents were not treated as
discovery requests but rather as plaintiffs response to the motion, and thus the
government had the option to reply within 17 days of service. See RCFC 6(d),
7.2(b)(2).

       Second, and more fundamentally, the question of a federal court's subject-
matter jurisdiction is a matter that cannot be waived or conceded by a defendant.
See, e.g., John R. Sand & Gravel Co. v. United States, 552 U.S. 130, 133-34 (2008);
Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006) (citing United States v. Cotton,
535 U.S. 625, 630 (2002)); Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 94
(1998) (citing Great S. Fire Proof Hotel Co. v. Jones, 177 U.S. 449, 453 (1900)).
Thus, even were the government to ignore, or even agree with, Mr. Haddad's legal
or factual contentions relating to our court's jurisdiction, our power to hear the case
must nevertheless be demonstrated to the Court's satisfaction by plaintiff. Because
plaintiff has stated no proper grounds for a default judgment, the motion is
DENIED, and the government need not respond to the motion.

IT IS SO ORDERED.




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